     Case 3:19-cr-00089-TKW      Document 118    Filed 12/02/19   Page 1 of 2


                                                                        Page 1 of 2


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 3:19-cr-89/TKW

STEPHANNIE N. MACNEW
_____________________________/

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts One and Five of the

superseding indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined the guilty plea

was knowing and voluntary and the offense charged is supported by an independent

basis in fact containing each of the essential elements thereof.       I therefore

recommend the plea of guilty be accepted and the Defendant be adjudicated guilty

and have sentence imposed accordingly.

Dated:      December 2, 2019.



                                /s/   Hope Thai Cannon
                                HOPE THAI CANNON
                                UNITED STATES MAGISTRATE JUDGE
3:19-cr-89/TKW
     Case 3:19-cr-00089-TKW     Document 118    Filed 12/02/19   Page 2 of 2


                                                                       Page 2 of 2


                          NOTICE TO THE PARTIES


      Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's   findings   or   recommendations      contained   in    a   report    and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




3:19-cr-89/TKW
